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CASE NUMBER 00 C 6208 DATE 3/25/2002
CASE Norilo Holding Corporation, Inc. vs. City of Chicago, et al.
TITLE

 

 

[ln the following box (a) indicate the party filing the motion, e.g., plaintiff`, defendant, 3rd party plaintiff`, and (b) state briefly the nature
of the motion being presented.]

 

 

 

 

 

 

 

MOTION:

DOCKET ENTRY:

(1) [] Filed motion of [ use listing in “Motion” box above.]

(2) |:| Brief in support of motion due

(3) |:l Answer brief to motion due___. Reply to answer brief due

(4) l:] Ruling,/Hearing on _____ set for ___ at

(5) l:! Status hearing[held!continued to] [set for/re-set for] on ____ set for ___ at

(6) [:| Pretrial conference [hcldfcontinued to] [set for/re-set for] on __~___ set for ____ at ___
(7) [:l Trial[set for/re-set for] on __ at

(8) l;| [Benchf]ury trial] [Hearing] held/continued to __,___ at

(9) [:l This case is dismissed [withfwithout] prejudice and without costs[by/agreement/pursuant to]

m FRCP4(m) l:I Generai Ruie 21 m FRCP41(3)(1) m FRCP41(a)(2).

(10) l [Other docket euny] Enter Memorandum Opinion and Order. The court grants the motion to
dismiss of the City, Hill, Goode and Carter [#11] in its entirety. The motion of Preckwinkle to dismiss [#10] is
granted with respect to the due process claim of Count I, the equal protection claims of Counts I and II, the
conspiracy claim of Count IlI, and the claim for breach of public trust in Count IV. The motion of Preckwinl<le
is denied with respect to the Count I claim for violation of the First Amendment. Defendant Preckwinkle is
directed to answer the complaint by April 22, 2002. A status hearing will be held on April 29, 2002 at 9:30.

(l l) l [For further detail see order attached to the original minute order.]

 

 
 
 
  

No notices required, advised in open court.
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UNITED STATES DISTRICT COURT
FOR 'I`HE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
NORFLO HOLDING CORPORATION, INC.,
Plaintiff,

v. No. 00 C 6208

ToNI PRECKWINKLE,
RoN CARTER,

wALLACE E. GOODE, JR., and
CHRISTOPHER HILL,

DOCKETED

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CITY OF CHICAGO, )

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Defendants.

MEMORANDUM OPINION AND ORDER
Plaintiff, Norflo Holding Corporation, Inc. (“Nortlo”), brought this civil rights action
under 42 U.S.C. §§ 1983 and 1985, against the City of Chicago (“City”), Toni Preckwinkle
(“Preckwinkle”), the elected Alderrnan for the City’s Fourth Ward; Ron Carter (“Carter”),
Wallace E. Goode, Jr. (“Goode”), and Christopher I-Iill (“Hill”), all agents and employees of the
City, alleging that defendants while acting under color of law violated and conspired to violate

Norflo’s First, Fifth and Fourteenth Amendment constitutional rights.1 Norflo is an Illinois

 

lAs the City points out, plaintiff pleads a direct violation of its constitutional rights as well as a violation of
42 U.S.C. § 1983. One’s constitutional rights, however, must be vindicated through the statutory remedy provided
by § 1983. Bfeneman v. City ofCht`cago, 662 F. Supp. 1297, 1299-1300 (N.D. Ill. 1987) (relying on Monell v.
Dep 't of Soct'al Servs., 436 U.S. 658, 690 (1978)), Because plaintiff invokes this court’s jurisdiction, in part, under
42 U.S.C. § 1343, the court takes the Complaint as pleading a § 1983 claim and disregards pleadings insofar as they
assert a direct right of action under the Constitution` In addition, although Norflo specifically rests its claim for an
attorney’s fee under 42 U.S.C. § 1988 within Count II, its other claims also seek an attorney’s fee and the court will
treat the Complaint as pleading for fees in all the counts under § 1988. Finally, it is noted that a corporation has
standing to bring an action under § 1983. Fu!ton Mkt. Cold Storage Co. v. Cuilerton, 582 F.Zd 1071, 1079 (7“‘ Cir.
1978); Adams v. City of Park Rt'dge, 293 F.2d 585, 587 ('7“‘ Cir. 1961).

corporation engaged in the development of commercial and residential real estate, whose
president and sole shareholder is Norman Bolden (“Bolden“). The court has jurisdiction under
28 U.S.C. § 1331 (federal question) and § 1343(a)(civi1rights). Venue is proper in this district
under 18 U.S.C. § 1391(a)(1) and (2). Before this court are motions by Preckwinkle and the City
defendants’ (all defendants other than Preckwinkle) to dismiss Norflo’S complaint under Fed. R.
Civ. Proc. 12(b)(6) for failure to state a claim upon which relief may be granted For the reasons
set forth below, the court grants the motion of the City defendants and denies the motion of
Preckwinkle with respect to part of Count I only. Her motion is otherwise granted
STANDARDS FOR MOTION TO DISMISS

A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) challenges the
sufficiency of the complaint for failure to state a claim upon which relief may be granted
General Elec. Capifal Corp. v. Lease Resolutl'on Corp., 128 F.3d 1074, 1080 (7th Cir. 1997).
Disrnissal is appropriate only if it appears beyond a doubt that the plaintiff can prove no set of
facts in support of its claim that would entitle it to relief. Conley v. Gz'bson, 355 U.S. 41, 45-46
(1957); Kennedy v. Nat ’l Juvenile Det. Assoc., 187 F.3d 690, 695 (7th Cir. 1999). In ruling on the
motion, the court accepts as true all well pleaded facts alleged in the complaint, and it draws all
reasonable inferences from those facts in favor of the plaintiff Jaclcs'on v. E.J. Brach Corp., 176
F.3d 971, 977 (7th Cir. 1999); Zemke v. City ofChicago, 100 F.3d 511, 513 (7m Cir. 1996).

FACTS

As a result of authorization stemming from the United States Department of Housing and

Urban Development (“HUD” , in 1994 the City designated an Empowerment Zone (“EZ”) and

one or more Empowerrnent Communities (“EC”). EZS and ECs are authorized for economically

disadvantaged areas and are intended to be areas of concentrated economic development activity,
for which federal and state funds (“EZ/EC funds”) are available In June, 1995, the City
established the Empowerrnent ZonefErnpowerment Comrnunity Coordinating Council
(“Coordinating Council”) to receive, review and make recommendations on all applications for
allocations of the EZ/EC funds and to submit its recommendations to the City Council pursuant
to Chapter 2~151 of the City Municipal Code.

On September 30, 1999, Norflo applied to the Coordinating Council, requesting a
$598,958.00 grant ton-renovate two properties it owned, located at 1001-1013 E. 43rd Street and
1039-1043 E. 43rd Street (the “subject properties”) within the Fourth Ward of the City, which is
Preckwinkle’s ward. The application called for the creation of a restaurant and retail space and
proposed to create between 33 and 60 jobs for residents On March 2, 2000, the Coordinating
Council approved Nortlo’s application as well as 21 other applications, and all were to be
submitted to the Budget Director of the City2 and recommended to the City Council for funding

Because at some time previously Norflo’s properties were rented to Charles Williarns as
his campaign headquarters when he ran against Preckwinkle in the 1999 aldermanic election in
the Fourth Ward, and because Bolden had been “a vocal and notorious supporter of Williams”
(Cornpl. 11 66), Norflo believes that Preckwinkle undertook to undermine Norflo’s application

On April 13, 2000, both Preckwinkle and Carter, the EZ Offlce’s Executive Director,
attended a meeting of the Strategic Planning Ad Hoc Committee of the Coordinating Council.

According to the minutes, Carter stated “that Norilo’s project had been funded [st`c] but would

 

2Before May 17, 2000, proposals were to be submitted to the commissioner of planning and development,
but the City Council amended section 2-151-050(j) to substitute the “budget director” as of the May 17 date.

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not be able to receive funds because its real estate site had been placed on the City’s Acquisition
List” by the Department of Planning and Development (“DPD”). (Compl. 1[ 26.) lt was then
indicated that Norflo’s allocation of EZ/EC funds could be used to fund an application submitted
by Hearts United, Inc., a not-for-profit corporation which had a joint venture proposal for $2
million with Bonheur Development Corporation (“Bonheur”), a private company and a
contributor to Preckwinkle’s aldermanic campaign3 The Coordinating Council had previously
tabled this application because it failed to provide training, jobs and housing at the requisite level
for the very people for whose benefit EZ/EC funds were intended Even though Hearts United,
lnc. never met the qualifications, at the instance of Carter and Preckwinkle, the Coordinating
Council recommended it to receive EZ/EC funds, in part from the hinds earmarked for Norflo.
On April 27, 2000, Bolden learned that Norflo’s application would not receive EZ/EC
funds because Norflo’s properties were on the City’s Acquisition List. Thereafter, Bolden
produced a copy of the North Kenwood~Oakland Conservation Plan, which demonstrated that the
properties were eligible for exemption from acquisition because they complied with the Building
Codes of the City and because Norflo’s application to the Coordinating Council provided for a
plan of action and financing for the properties’ development and renovation4 On May 4 and 5,

2000, Norflo requested the assistance of the DPD and the Mayor’s Offlce to remove the

 

3According to Norflo’s allegations, Bonheur had contributed $6,450 to Preckwinkle’s campaigns since
1996. Bonheur’s contractor, Linn-Maths, Inc., and its mortgagor, Prairie Mortgage Company, had also given
Preckwinkle $3,500 since 1997, and $3,850 since 1995, respectively, and its architecture firm, Booth Hansen &
Associates, had given Preckwinkle $2,500 in 1999.

4Norflo alleges that the Coordinating Council has inherent power to waive the Acquisition List restriction
Whether this is true or not, given that Norflo alleges that at least two other applications which involved properties on
the Acquisition List received EZ/EC funds from the City Council, it may be inferred that the Coordinating Council
does waive this restriction

properties from the Acquisition List.

On June 2, 2000, Bolden met with Goode, who had succeeded Carter as Executive
Director of the EZ Office, in an attempt to resolve the Acquisition List issue. Goode indicated
that Norflo was a recommended applicant and that Goode would address Norflo’s request on or
about June 6, 2000. Goode further suggested that Bolden meet with Preckwinkle, who he said
was “holding up the project.” On June 6 and June 8, 2000, Bolden received a letter and
memorandum, respectively, from Goode, stating that it was Norflo’s responsibility to ensure its
site Was removed from the Acquisition List, and including a time line of necessary requirements
and procedures to be met before Norflo’s application could be sent to the City Council.

On June 12, 2000, Bolden met with Preckwinkle. When Bolden asked Preckwinkle why
she objected to Norflo’s application, she reminded Bolden that he had on a previous occasion
sued the City over a dispute involving low interest rate loan packages provided by I-IUD and the
City. (Cornp. 11 36.) Preckwinkle also stated it was “my personal policy in my Ward” not to
Support the disbursement of public funds to private entities, and that she would only lend her
support to non-profit entities or to the private entities in joint venture with a private development
firm. Preckwinkle further stated that she would not support a “windfall” to Norflo. Bolden then
asked Preckwinkle whether there were any conditions under which she would support an
application submitted to the Coordinating Council from Bolden to which she responded, “No.”

By June ll, 2000, Norflo had met all requirements stated by Goode and made numerous
attempts to facilitate removing the subject properties from the Acquisition List, without avail.
Goode maintained his position that until the properties were off the Acquisition List, he could

not move the application

Beginning on May 31, 2000, Norflo made several requests under the Freedom of
Information Act (“FOIA”) for information about when and how its properties got on the
Acquisition List and what procedures existed for placing properties on and removing them from
the List. From responses to the FOIA requests, Norflo learned that the City had not complied
with any of the City’s prescribed provisions regarding notice and opportunity for hearing with
respect to the subject properties being placed on the Acquisition List, and it learned that the
procedure for being removed from the list could be found “worded as part of the North
Kenwood-Oakland Conservation Plan.” Thereupon, on August 1, 2000, Norflo wrote Goode and
the DPD, summarizing the interactions among the various parties over the previous sixty days
and demanding that the subject properties be removed from the Acquisition List.5

On August 9, 2000, North wrote to Hill, Cornmissioner of the DPD, demanding that the
properties be removed by August 15, 2000. However, on August 15 , 2000, corporation counsel
for the City responded to Norflo’s letters, stating that it Would be inquiring into the matter.
Despite some initial communication between Norflo and corporation counsel, there was no
further communication between the parties

On August 20, 2000, upon recommendation of the Coordinating Council, the City passed
ordinances providing for the funding of 35 of the 50 applications recommended by the
Coordinating Council, but Norflo was not among them. Among the 35 projects funded, two

projects were located principally in the City’s Fourth Ward, represented by Alderman

 

5Furthermore, Norflo alleges that on August 3, 3000, Bolden attended the Kenwood-Oakland Comrnunity
Conservation Council so that he could present Norflo’s development plans. Norflo had previously taken all
necessary steps to appear on the August 3, 2000 agenda; however, Norflo was not on the agenda. At this meeting,
Preckwinklc did not permit Bolden to speak and told him that he would have to get permission from the DPD.

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Preckwinkle. Both sites were on the City’s Acquisition List.

Norflo’s application was forwarded to the City Council on December 13, 2000 (after
Norflo filed this present action) and subsequently tabled in the Budget Comrnittee of the City
Council.6 Whether the properties remain on the Acquisition List is not of record.

DISCUSSION

Norflo asserts Counts 1 through III against the City and the individual City defendants
(Carter, Goode and Hill) and Counts I, III and IV against Preckwinkle. Counts I and II,
respectively, claim that defendants violated Norflo’s right to “substantive due process and equal
protection under the laws” by depriving it of a property interest after Norflo complied with all
EZ/EC requirements, and by their conduct relating to placement of the properties on the City’s
Acquisition List. Count l also alleges a First Amendment claim and Count II alleges a procedural
due process claim. Count l]I accuses defendants of conspiracy in violation 42 U.S.C. § 1985 and
Count IV seeks punitive damages against Preckwinkle for her breach of public trust in
connection with the conspiracy
I. The Due Process Ciaims

Norflo’s procedural and substantive due process claims are less than clearly articulated

 

6Plaintiff acknowledged in open court that the submission to the City Council did occur but contends that
his claim remains viable, relying on Connry ofLos Angeles v. Davt`s, 440 U.S. 625 , 631 (1979) (As a general rule,
voluntary cessation of allegedly illegal conduct does not deprive the tribunal of power to hear and determine the
case, i.e., does not make the case moot.). Defendants argue that these undisputed facts demonstrate that none of the
defendants prevented Norflo’s application from being submitted to City Council. Defendants further assert that the
conduct ascribed to them in the Complaint cannot be construed as a cause of any injury to Norflo but rather Norflo’s
claim amounts to little more than a complaint that its application took too long - five and a half months - to reach
City Council and that such a delay is not unreasonable in the context of the governmental and legislative process.
Plaintiff omits from its citation to Davt's that the Court held that case moot under the rule that a case becomes moot if
(l) it can be said with assurance that there is no reasonable expectation that the alleged violation will recur, and (2)
interim relief or events have completely and irrevocably eradicated the effects of the alleged violation Ia’. Because
this material is outside the pleadings, the court will address the merits of the motions and reserve the issue of
mootness, should it be asserted by Preckwinkle, for a Rule 56 motion for summary judgment

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(see, e.g., Compl. ‘|l'l[ 72, 73 which merely refers to the “afore described conduct” of the
defendants as depriving it of substantive due process). Nevertheless, it appears that Norflo
claims in Count I that once it complied with the terms and conditions necessary for application
for the EZ/EC funds (other than removal from the Acquisition List, which was out of Norflo’s
control) it acquired a protectable, contractual property interest, an interest that “becarne choate”
upon the Coordinating Council recommending it for funding on March 2, 2000 (see Compl. 1[1[
54, 55), of which it was dep;ived when the defendants refused to forward the application to the
City Council.7 ln Count II, Norilo seems to claim deprivation of procedural and substantive due
process (a) because the City has no procedure for removing properties from the Acquisition List,
therefore Norflo has no recourse to obtain removal from the List, which deprives Norflo of its
“right” to receive EZ/EC funds (Complaint ‘|156); and, somewhat inconsistently, (b) because the
North Kenwood-Oakland Conservation Plan provides Norflo a right to exemption from the
Acquisition List, but the City and Hill have arbitrarily and irrationally refused to grant the
exemption; again (presumably, though not explicitly stated) they have deprived Norflo of its right
to receive EZ/EC funds (See Compl. 1111 57-58).

In asserting that the City defendants8 violated Norflo’s procedural due process rights due

to the placement of the subject properties on the City’s Acquisition List, Norflo points to

 

7Norflo argues, as well, that its “property interest . . . is in the nature of a statutory entitlement providing
that upon recommendation by the Coordinating Com.mittee, NORFLO’s application ‘will be submitted through the
budget director to the City Council,”’ quoting City of Chicago Municipal Code § 2-151-050(]'). (Pl.’s Mem. in
Support of Pl.’s Resp. to Mot. to Dismiss at p 3.)

8According to Preckwinkle, Norflo does not allege that Preckwinkle had anything to do with the inclusion
of its property on the City’s Acquisition List and that this, in and of itself, is a sufficient basis for the dismissal of
Norflo’s claims against Preckwinkle, if any, in Count II. North did not contest this assertion in its response Count
II does not include Preckwinkle as a defendant Therefore, the court assumes that Count II does not concern
Preckwinkle.

Municipal Code § 2-151-050, which establishes the powers and duties of the Coordinating
Council, for its alleged “right” to have its application submitted to the City Council. (Subsection
(j) thereof grants it authority “[t]o receive, review, and make recommendations on all
applications for allocations of E.Z./E.C. funds. . . . Recommendations on use of funds will be
submitted through the commissioner of planning and development9 to the city council . . . .”)
Norflo argues, then, that the placement of the subject properties on the Acquisition List without
notice and opportunity to be heard, the lack of any procedure by which property may be removed
from the Acquisition List, and the use of the Acquisition List as a pretext for refusing to submit
the EZ/EC application to the City Council as required by the Ordinance, violate its procedural
due process rights.'0 Defendants argue that plaintiff acquired no protectable property interest in
EZfEC funding, and therefore its substantive due process claims must fail. Further, they argue,
Nortlo has failed to allege that the City has taken any action to acquire its properties or otherwise
harm them, other than to impair its ability to obtain the EZ/EC contract (even that is no longer

the case), and they argue that because Norflo has no property interest in an EZ/EC contract, this

 

9As indicated, the procedure was amended in May, 2000 to substitute the budget director for the director of
DPD, and so Hill of the DPD, not the budget director, is alleged to have violated plaintiffs rights.

10Norilo lists the following provision in its Complaint as part of the City’s Acquisition Policy:

Unless otherwise recommended and approved by the Commission, this date [by which the
acquisition of occupied parcels will eommenee} should be four years from the date of the
publication of the ordinance approving the acquisition Acquisition shall be deemed to have
commenced with the sending of an offer letter. The Cornmission shall recommend to the City
Council that the Plan authorizes acquisition only if it commences within the specified time frame.

(Pl.’s sx. w)_

claim must also fail.11

Certainly, because Norflo’s application was ultimately submitted to the City Council,
Norflo has not demonstrated how it has been deprived of its alleged entitlement under § 2-151-
050(j). See Brown v. Brz`enen, 722 F.2d 360, 366 (7th Cir. 1983) (the alleged deprivation of
property was merely a postponement .12 But apart from this development, which occurred after
the case was filed, it is abundantly clear from case law that approval of an application for handing
by a public official or entity where no actual contract has been entered into does not create a
substantive property interest Without a property interest, there is no process due. See Ky!e v.
Morton High Sch., 144 F.3d 448, 452 (7th Cir. 1998) (“It is . . . firmly established that procedural

requirements alone cannot be the basis for a property right . . . .”).

To establish a due process claim under § 1983, whether procedural or substantive, the
plaintiff must first claim a deprivation of a protected interest in life, liberty, or property.
Traz`m`ng Inst., Inc. v. City of Chicago, 937 F. Supp. 743, 747, 748 (N.D. Ill. 1996). As stated in

Kz'm Consrructz'on Co., Inc. v. Board of Tmstees of Village of Mundelein,

To have a constitutionally protected property interest in the award of a municipal
contract, an individual must have a “legitimate claim of entitlement to it.” A
property interest for the purposes of the Due Process Clause is created by

 

11The City defendants concede that a different situation might exist if the City decided to initiate procedures
for the acquisition or condemnation of Norflo’s subject properties, which has not yet happened (City Defs. ’ Reply
Mem. in Support of Their Mot. to Dismiss at p. 5 n.3.)

lzNorilo, relying on Lanna Overseas Shippz'ng, Inc. v. City ofChi'cago, No. 96 C 3373, 1997 WL 587662
(N.D. Ill. Sept. 18, 1997), states, “[T]he process requiring the submission of a specific application for EZ/EC funds
to the City Council for funding is analogous to the issuance of a building permit by a municipality In each case once
all the antecedent requirements have been met, the municipality has no discretion as to whether to submit the
application to the City Council in the former instancc, or to issue a building permit in the latter situation[.]” (Mem.
in Support ofPl.’s Resp. to Mot. of Defs’ to Dismiss Pursuant to FRCP lZ(b)(o) at p. 5.) Norflo then concludes that
“its protectable interest alleged is contractual in nature.” To the extent the ordinance at issue is mandatory, it has
certainly been accomplished

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“existing rules or understandings that stem from an independent source such as
state law _ rules or understandings that secure certain support claims of
entitlement to those benefits.”

14 F.3d 1243, 1245 (7th Cir. 1994) (quoting Board of Regents v. Roth, 408 U.S. 564, 577 (1972)).
Entitlement arises only after benefits have been received or granted. Cf Lyng v. Payne, 476 U.S.
926, 942 (1986) (“We have never held that applicants for benefits, as distinct from those already

receiving them, have a legitimate claim of entitlement protected by the Due Process Clause of the

Fifth or Fourteenth Amendment.”).

There is no language in the section of the Municipal Code on which Norflo relies that
provides that an application, once it is recommended by the Coordinating Council, must be
approved for funding by the City Council (as is also readily inferred from Norflo’s allegation that
the City Council approved 35 out of 50 applications recommended by the Coordinating Council).
See Kr`m Constr. Co., Inc., 14 F.3d at 1246, 1247 (“ln the absence of an underlying property
interest, the Due Process Clause does not require states to obey their own procedural rules in
awarding municipal contracts * * * This court accordingly has held that in Illinois, a
disappointed bidder for a public contract lacks a property interest in the award, even if that bidder
has submitted the lowest conforming bid for the project.”). At most, unless and until the City
Council decides to award EZ/EC funds to Norflo, Norflo has not acquired any property interest in
these funds. ln fact, Norflo’s situation is similar to the plaintiff in Cunningham v. Adams, 808
F.Zd 815, 820~21 (l l‘h Cir. 1987), where the plaintiff was the highest-rated under published
criteria among three bidders whom an evaluation committee recommended to a decision maker

board to receive a contract for an airport concession The court ruled that the plaintiff had only a

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“unilateral expectation” of a property interest. Similarly, in Circh Ltd. v. City of Miami, 79 F.3d
1057, 1060-61 (11th Cir. 1996), an opinion written by Judge Richard J. Cudahy of the Court of
Appeals for the Seventh Circuit sitting in the Eleventh Circuit by designation, the court held that
a developer under a Florida community redevelopment act did not acquire property interest in a
municipal redevelopment project despite obtaining preliminary approval of its proposal because a

contract was not executed with the City.

In its brief, Norflo characterizes its claim as one of “evisceration” of its liberty interest to
enter into a contract in that it eliminates Norflo’s properties as a recipient of EZ/EC funds,
relying on United States Trust Co. of New York v. New Jersey, 431 U.S. 1, 17 n. 14 (1977), to
assert that § 2-151~050@) reflects a legislative intent to establish a contractual right Even if the
court were to bypass the pleadings and accept Norflo’s argument that it has been deprived of
“liberty” to contract, this adds nothing to the conversation First, Unifed States Trust Co. ofNew
York offers no support to Norflo’s claimed right to a procedure leading to the discretionary
consideration by the Coordinating Council and City Council of whether the EZ/EC funds would
be granted to an applicant. Cf Andre v. Bd. of Tr. of Vz'll. of Maywood, 561 F.2d 48, 51-52 (7th
Cir. 1977) (“The contract's rights and obligations in the United States Tmsr Co. case were clear,
unequivocal, concrete, and statutorily expressed Such cannot be claimed here.”); compare
Circa, Lz‘d., 79 F.3d at 1061 (the court reserved question whether even an agreement (i.e., actual
contract) creates a property interest.”). Second, a contractual right is in the nature of property.
Cf Unired Stares Trust Co. ofNew York, 431 U.S. at 19 n. 16 (“contract rights are a form of
property . . .”); see Brown v. Brr'enen, 722 F.2d 360, 366 (7th Cir. 1983) (rejecting notion that a

state actor who breaks a contract deprives the plaintiff of “propert§/’ in the substantive due

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process sense. “[T]here is nothing in the Bill of Rights about protecting contractual rights as

such. Such rights are protected under the due process clause of the Fourteenth Arnendment if at
all only as a form of property . . .”). Accordingly, Norflo’s claim that it has a property or liberty
interest in EZ/EC funds on which to base a claim for deprivation of due process, under either the

substantive or procedural due process arms, is without merit and these claims Will be dismissed
II. The First Amendment Claims

Norflo’s First Amendment claim revolves around actions of Preckwinkle, with the
assistance of Carter, Goode, and Hil], directed at thwarting Norflo’s application because Norflo
had openly supported Preckwinkle’s opponent in a previous aldermanic election Norflo believes
that the subject properties remain on the Acquisition List because Preckwinkle can use that as a
pretext for opposing the application and can ultimately obtain rejection of the application through
exercise of the aldennanic “veto.” As to this veto, Norflo alleges that the City maintains a
custom and practice of permitting aldermen to veto the approval of applications for EZ/EC funds
within that alderman’s ward and that this veto, also known as “aldermanic privilege,” may be
exercised for irrational, arbitrary, capricious, political, vindictive and personal reasons, in
violation of the First Amendment. Defendants argue that Norflo’s claim is deficient because no
allegation is made that any of the defendants were ever aware of Norflo’s or Bolden’s political

activities, much less that these defendants took action against Norflo because of such political

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aciiviries,” citing bakery v. cay ofchicago, 75 red sis, 326 (rh Cir. 1996).1‘* rn addition the
City argues that Norilo has failed to allege a First Amendment retaliation claim against the City
on the basis of vicarious liability for the conduct of Preckwinkle in exercising an aldennanic veto
against it. The City reasons that even if such conduct occurred, the City could not be held liable
for Preckwinkle’s actions. Because Norflo has not alleged that Preckwinkle has exercised her
alleged aldermanic veto, there is no basis to hold the City vicariously liable for Preckwinkle’s
actions Thus, the City will be dismissed from the political retaliation claim and the court Will

discuss the claim against the individual defendants

“The right to petition [the govemrnent] is among the most precious of the liberties
guaranteed by the Bill of Rights, and except in the most extreme circumstances citizens cannot
be punished for exercising this right without violating those fundamental principles of liberty and
justice which lie at the base of all civil and political institutions.” McDonald v. Smith, 472 U.S.
479, 486 (1985) (intemal citations and quotations omitted) (Brennan, J. concurring); see Creek v.
Vill. of Westhaven, 80 F.3d 186, 192 (7ch Cir. 1996) (“A lawsuit can be a form of constitutionally

protected petition for the redress of grievances.” .'5 According to Thomsen v. Romer's, 198 F.3d

 

13Defendants’ main challenge goes to the second element, the retaliation Preckwinkle also challenges
Norflo’s claim that Norflo engaged in constitutionally protected speech by renting its subject properties to a political
opponent of Preckwinkle. It is not necessary to consider whether renting the subject properties in and of itself is
protected speech, because plaintiff makes other allegations, which defendants fail to acknowledge, that are clearly
protected speech.

14ln Doherty, the Seventh Circuit affirmed the dismissal of a political retaliation claim where plaintiff failed
to allege that the decision maker was aware of the plaintiffs political status or that others with favored political
status received better treatment under similar circumstances See Posr v. Court Oj?cer Shfeld § 207, 180 F.3d 409,
418 (2d Cir. 1999) (In order to survive a motion to dismiss, the complaint must “allege facts which could reasonably
support an inference” that the defendants harbored retaliatory intent).

15Preckwinlcle asserts that Norflo’s First Amendment claim is alleged via its equal protection claim. (Ald.

Preckwinklc’s Mem. in Support of R. 12(b)(6) Mot. to Dismiss at parts D and E.) In reviewing Count I, however,
Norflo alleges its First Amendment claim via its right to substantive due process. (See Compl. 11 73.); cf. Hz‘lton v.

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1022, 1027 (7“‘ Cir. 2000),

In order to establish a § 1983 claim based on the First Amendment, a plaintiff must
demonstrate that (l) his conduct was constitutionally protected and (2) his conduct Was a
“substantial factor” or “motivating factor” in the defendant’s challenged action. . . . The
plaintiff cannot prevail unless he establishes that the defendant would not have taken the
challenged actions “but for” the constitutionally protected conduct.

Norflo alleges that Preckwinkle, when asked why she would not support Norflo’s
application, stated that Bolden “had on a previous occasion sued the [City] over a contractual
dispute involving a low interest rate loan package provided by HUD and the City” (Compl. 1[ 36),
that she would support only a not-for-profit venture or a joint for-profit/not-for-profit venture
(Cornpl. 1[ 37), and finally that she Would not Support an application by Bolden under any
conditions (Compl. 11 40). Norflo pleads only that the individual City defendants acted against

Norflo at Preckwinkle’s insistence

Although it is true that mere allegations that North rented the subject properties to a
political opponent of Preckwinkle and that Norflo’s president’s support of this political opponent
was “open and notorious” would not permit an inference that Preckwinkle knew of Bolden’s
opposition, nevertheless, these facts added to the allegations set out in the preceding paragraph
would permit an inference that Preckwinkle was retaliating against Norflo by thwarting the
progress of the application because of Bolden’s protected activity. In other words, it cannot be
said that it is clear that plaintiff can prove no set of facts entitling it to relief. There are no

allegations, however, that would permit the court to infer that Carter, Goode, and Hill knew of

 

City of Wheelfng, 209 F.3d 1005, 1006 (7"‘ Cir. 2000), cert denied, 531 U.S. 1080 (2001) (“the right to petition the
government for grievances is found in the First Amendment to the Constitution has been held enforceable against
states by virtue of the due process clause of the Fourteenth Amendment.”).

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Bolden’s opposition to Preckwinkle or otherwise possessed knowledge from which retaliatory
intent towards Norflo could be inferred. At most, they were complying with Preckwinkle’s
wishes Therefore, Norflo’s First Amendment retaliation claim is viable against Preckwinkle,

but not against the City, Carter, Goode or Hill.
III. The Equal Protection Claims

In Count l, plaintiff alleges that the defendants denied Norflo equal protection of the laws
in that Norflo’s application was the only application recommended but, for impermissible
discriminatory reasons (Preckwinkle’s animosity), not forwarded to the City Council. In Count
11, Norflo alleges that the City, Carter and Goode denied Norflo equal protection when it
forwarded the applications of two other entities whose properties were on the Acquisition List,
while not forwarding Norflo’s application on the basis that the properties were on the Acquisition
List. Defendants argue that plaintiff fails to state a claim for denial of equal protection because a
plaintiff, who is a class of one, such as Norflo, must allege not only differential treatment when
compared to others similarly situated but also that there was an illegitimate animus towards the
plaintiff which caused the differential treatment, citing Vi'llage of Willowbrook v. Olech, 528
U.S. 562 (2000); Hilton v. City of Wheeling, 209 F.3d 1005 (7th Cir. 2000), and Norflo has failed
to make such allegations Preckwinkle argues, in addition, that Norflo fails to allege different
treatment because it does not identify any similar projects for which EZ/EC funding was sought
or indicate that Preckwinkle applied a different standard with respect to such projects Moreover,

Preckwinkle relies on her professed bases for her opposition to Norflo’s funding request as on

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their face non-discriminatory '6

In the classic equal protection format, the plaintiff must allege (l) membership in a
protected class, (2) that is otherwise similarly situated to those not in the class, but (3) is treated
differently on the basis of that class La)ma Overseas Shippz‘ng, Inc. v. City ofChicago, No. 96 C
3373, 1997 WL 587662, at *8 (N.D. Ill. Sept. 18, 1997), (citing to New Bumham Prairr'e Home.s',
Inc. v. Vill. of New Bumham, 910 F.2d 1474, 1481-82 (7"‘ Cir. 1990)). But as the City
defendants point out, Where a class of one is alleged, Vr`llage of Willowbrook" governs A
plaintiff who is a class of one must allege not only differential treatment when compared to
others similarly situated, but also that there was an illegitimate animus toward the plaintiff which
caused the differential treatment, or as stated in Village of Willowbrook, 209 F.3d at 1008, that
the defendant acted “for reasons of a personal nature unrelated to the duties of the defendant’s

position.”

In Count I, plaintiff compares itself to all other recommended applicants and in Count ll

 

'6Preckwinkle further argues that Norflo neglects to mention its admission that Bonheur Development, Inc.,
a campaign contributor, was in a joint venture with a non-profit corporation, which satisfied Preckwinkle’s stated
requirement for non-profit corporation participation

1”"Defendants assert that Norflo alleges that it is a class of one under Count l and Norflo concedes it is
alleging that it is a class of one in its response (see Mem. in Support ofPl.’s Resp. at p. 8). In reviewing Count I, it
is unclear to the court whether Norflo alleges it is a class of one because Preckwinkle also allegedly retaliated against
another recommended applicant, KOCO, whose Executive Director, Robert L. Lucas, was a former political
opponent and a “sort of sworn political enemy.” (Cornpl. 11111] 63-65.) According to Norflo’s allegations, however,
Preckwinkle exercised the aldermanic veto against KOCO during City Council proceedings If this be the case, the
distinction between the classes is still political speech, and the outcome of this aspect of the motion remains the
same. Because Norflo fails to allege that Preckwinkle has exercised the aldermanic veto against it, it appears that not
only is Norflo still a class of one. As an aside, it is unclear whether Norflo has standing to assert its contentions
about the aldermanic veto or that such contentions are ripe, See Heartwooa', Inc. v. Unitea' States Forest Servfce el
al., 230 F.3d 947 (7th Cir. 2000),

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(against the City defendants only'S) to two other entities on the Acquisition List (Little Black
Pearl, Inc., and Muntu Dance Company) (see Compl. 1[ 59) who were recommended in spite of
that status With respect to either construct, the City defendants are correct that the Complaint
does not allege any personal animus by Carter or Goode that would permit Norflo to assert an
equal protection claim against them or the City as a class of one. As stated above, the most that
can be inferred from the allegations of the Complaint is that Carter and Goode were doing the
bidding of Preckwinkle, but this does not mean that they harbored personal animosity against

Norflo or Bolden.

With respect to Preckwinkle’s argument that plaintiff fails to identify others similarly
situated and how they were treated more favorably, perhaps it could be said that Norflo alleges
that Hearts United, Inc. was treated more favorably both because its properties were on the
Acquisition List but still were forwarded to the City Council, and because Hearts United, lnc. did
not fully comply with other requirements of applicants19 Nevertheless, it is obvious that
Norflo’s attempts to plead that Preckwinkle had an illegitimate animus towards it based on
Bolden’s political advocacy is the same thing as saying that defendants retaliated against Norflo

in retaliation for Bolden’s exercise of speech and, as such, the equal protection claim collapses

 

'SAS stated earlier, Norflo does not allege any claims under Count II against Preckwinkle. Fultherrnore,
Norflo specifically excludes Hill from its equal protection claim under Count II (see Compl. 11 59); therefore, Hill is
not included as a defendant in this instance.

19Defendants fail to acknowledge that the Strategic Ad Hoc Committee shifted funding for Norflo to Hearts
United, Inc., a non»profit, working in conjunction with a campaign contributor of Preckwinkle, even though Hearts
United, Inc. did not receive a passing score from the Coordinating Council. Moreover, as mentioned earlier,
Preckwinkle, when asked by Bolden, said that she would not support an application of Bolden’s, which leads to the
inference, at least under Rule 8, that she would not support an application by Bolden even if it was made in
conjunction with a non-profit

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into the First Arnendment claim.20 Accordingly, the equal protection claims under Count l and

Count ll will be dismissed against all defendants
IV. The Conspiracy Claims

Norflo contends that the conduct of Preckwinkle and the other defendants constitutes a
conspiracy to deprive Norflo of its constitutional rights which may be vindicated under 42 U.S.C.
§ 1985(3) based on Borden’s loyalty to Preckwinkle’s political opponent Defendants argue that
section 1985 does not apply to claims brought under the First Amendment, citing to Her}zold v.
City ofChicago, 723 F. Supp. 20, 36 (N.D. 111. 1989) (“viewing Seventh Circuit case law as a
whole, it appears fairly clear that section 1985(3) does not extend to politically motivated
conspiracies . . .”), and Feng v. Sandrik, 636 F. Supp. 77, 84 n. 7 (N.D. Ill. 1986) (“the scope of
substantive rights protected through section 1985(3) actions does not include those contained in
the First Arnendment.”). According to defendants, Norflo’s section 1985 claim fails because,
while Norflo alleges that defendants have conspired to retaliate against it for the political
association of its president with Preckwinkle’s political opponent, this claim is based on the First
Amendment, which is inapplicable to § 1985(3). Norflo responds that the court in United Bhd. of
Carpenters andJoiners of Am., Local 61 0, AFL-CIO v. Scort, 463 U.S. 825, 837 (1983), left
open the possibility that section 1985 may apply to conspiracies based on “otherwise class based
animus” and that it be allowed to assert a claim based on a conspiracy directed against a “class of

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20lt is apparent from the briefs that Norflo means that Preckwinkle’s preference for a not-for-profit
component is merely a pretext for her retaliatory motive, which amounts to a First Arnendment claim. Norflo
nowhere argues that Preckwinl<le’s preference for a not-for-profit component is simply not rationally related to a
legitimate governmental interest, a type of equal protection claim not applicable to a class of one situation

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Plaintiff" s conspiracy claim must be dismissed for at least two reasons First, neither the
Supreme Court or the Seventh Circuit has ever held that nonracial conspiracies motivated by
political loyalty are Within the protection of section 1985(3). See Scort, 463 U.S. at 837 (“Even if
the section must be construed to reach conspiracies aimed at any class or organization on account
of its political views or activities, or at any of the classes posited by Senator Edmunds, we find
no convincing support in the legislative history for the proposition that the provision was
intended to reach conspiracies motivated by bias towards others on account of their economic
views, status, or activities.”) (emphasis added); Grz`mes V. Smr'rh, 776 F.2d 1359, 1363-67 (7th
Cir.1985) (Section 1985(3) does not cover alleged victims of nonracial political conspiracies);
Bowman v. City omenklin, 980 F.2d 1104, 1109 (7th Cir. 1992) (“Even if the defendants'
actions against the Bowmans could somehow be viewed as political, ‘§ 1985(3) does not reach
nonracial political conspiracies,”’ quoting Grr`mes) (emphasis added).21

Second, defendants are correct that even if Norflo alleges a § 1985(3) claim based on
Bolden’s political loyalty, Norflo still fails to state a claim because the intracorporate conspiracy
doctrine provides that a municipality cannot conspire with its own officials or employees
Payton v. Rnsh-Presbyterian-St. Luke 's Med. Ctr., 184 F.3d 623, 632-33 (7"‘ Cir. 1999); Zoch v.
City of Chz'cago, No. 94 C 4788, 1997 WL 89231, at *56 (N.D. Ill. Feb, 4, 1997) (“the

intracorporate conspiracy doctrine bars recovery under § 1985 where a plaintiff does not claim

 

21Somc of the cases - even this court’s own Talley v. City of Chi`cago, No. 00 C 1240, 2001 WL 115924, at
*5 (N.D. Ill. Sept. 28, 2001) - recite that a conspiracy to discriminate based on political loyalty falls within §
1985(3). See, e.g., Volk v. Coler, 845 F.2d 1422, 1434 (7"‘ Cir. 1988); Munson v. Frr`ske, 754 F.2d 683, 695 (7‘h
Cir.1985), Murphy v. Moun£ Carmel Hr'gh Sch., 543 F.2d 1189, 1192 n. 1 (7th Cir.1976); Life Ins. Co. ofNorth Am.
v. Retchardr, 591 F.2d 499, 505 (9“‘ Cir. 1979); and Marlowe v. Fi`sher Body, 489 F.2d 1057, 1064-65 (6“‘ Cir.1973).
In Voil'c and the other cited cases, however, this language is dictum. But see Cameron v. Brock, 473 F.2d 608, 610
(6“‘ Cir. 1973) (“We hold that § 1985(3)’s protection reaches clearly defined classes, such as supporters of a
political candidate.”)`

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that the conspiracy was part of some broader discriminatory pattern . . . or that it in any way
permeated the ranks of the organization’s employees.”) (internal quotation omitted). Courts have
applied this doctrine to municipal employees holding, for example, that individual aldermen
could not conspire with members of the executive branch because they are “members of the same
municipal corporation, i.e., the City of Chicago.” A!len, 828 F. Supp. at 564. Here, as Hill,
Goode and Carter are alleged to be agents of the City22 and Preckwinkle is an alderman, they are
all members of the same municipal corporation, the City, and, therefore, form an intracorporate
conspiracy As such, the court concludes that Norflo’s § 1985(3) claim is barred by the
intracorporate conspiracy doctrine As such, Count 111 must be dismissed
V. Punitive Damages

ln Count W, Norflo alleges that Preckwinkle’s conduct, incorporated by reference to all
factual allegations of the Complaint, is “so egregious, reprehensible, constitutionally illiterate,
particularly on the part of an elected official, a fiduciary of the public trust and held to the highest
standard of conduct, as to constitute a breach of [publie] trust, and is deserving of the imposition
of punitive damages to serve as an example” (Compl. ‘|l 76) to deter future unconstitutional
violations by Preckwinkle and other elected or appointed City officials To the extent punitive
damages are available under the one surviving claim against Preckwinkle, punitive damages may
be awarded should the proof be met. Plaintiff has not identified a cause of action under the Civil
Rights Act or lllinois law, however, for breach of public trust, Therefore, Count IV must be

dismissed

 

22l\lorflo alleges that Carter and Goode are “agents” of the City and there is no allegation that they are not
also employees of the City, so that fact is assumed

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VI. Legislative Immunity Issues

Preckwinkle contends that she is entitled to absolute immunity from each of Norflo’s
claims against her because she was exercising her legislative responsibilities as alderman. Norflo
argues that the doctrine of legislative immunity does not apply to this case because Preckwinkle’S
conduct was not of a legislative nature. For example, when Preckwinkle attended the Strategic
Planning Ad Hoc Committee of the Coordinating Council on April 13, 2000, Norflo contends,
Preckwinkle was not acting in a legislative capacity; similarly, preventing Norflo from being on
the agenda at the local community meeting (see discussion supra note 5) was not a legislative
activity.

Local legislators are entitled to absolute immunity from § 1983 liability for their

legislative activities Bogan v. Scorr-Harris, 523 U.S. 44, 54 (1998).

Absolute immunity, however, only applies to those legislators acting in their
legislative capacity Administrative or executive acts of legislators are not
protected T his “functional” approach focuses on the nature of the duties with
which a particular government official has been lawfully entrusted, [and
evaluates] the effect that exposure to particular forms of liability would likely
have on the appropriate exercise of those functions The government official
seeking immunity, therefore, has the burden of showing that an exemption from
personal liability is justified by overriding considerations of public policy, or by a
tradition of common law practice existing at the time of the enactment of section
1983.

Rateree v. Rockett, 852 F.2d 946, 950 (7‘h Cir. 1988) (internal citations and quotations omitted).

Preckwinkle cites Bogan, 523 U.S. at 45 (Mayor’s introduction of a budget that proposed the
elimination of city jobs and his signing the ordinance into law also were legislative activities,
even though he was an executive official), Rateree, 852 F.Zd at 950 (actions of city

commissioners in approving budget decision to eliminate jobs were legislative, not

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administrative, actions entitling them to absolute immunity), and Lcmna Overseas Shippz'ng, Inc.,
1997 WL 587662, at *23 (alderman entitled to absolute immunity for introducing ordinance

revoking plaintiff’ s driveway permit).

The policy underlying immunity was elegantly explained by J'ustice Frankfurter in Tenney

v. Brandhove, 341 U.S. 367, 373 (1951):

The reason for the privilege is clear. It was well summarized by J ames Wilson, an

influential member of the Committee of Detail which was responsible for the

provision in the Federal Constitution. 'ln order to enable and encourage a

representative of the public to discharge his public trust with firmness and

success, it is indispensany necessary, that he should enjoy the fullest liberty of

speech, and that he should be protected from the resentment of every one,

however powerful, to whom the exercise of that liberty may occasion offense.' ll

Works of J ames Wilson (Andrews ed. 1896) 38.
Although, without a doubt, any vote by Preckwinkle in opposition to the application once it
arrived at the City Council would be within her legislative function, the conduct at issue here is
not clearly so in that Preckwinkle allegedly asserted herself into the administrative function
committed to the Coordinating Council by blocking the Council from passing on Norflo’s
application in order to prevent it coming before the Council. (See also Compl. 1[1[‘][ 36, 44, 5 8.)
Preckwinkle has the burden here of demonstrating her entitlement to immunity and, at least for
the purpose of the motion to dismiss, the court cannot conclude that there are clearly no set of

facts that could establish that Preckwinkle acted outside her legislative function Therefore,

Preckwinl<le has not established that she is immune from liability under section 1983.

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ORDER
Accordingly, the court grants the motion to dismiss of the City, Hill, Goode and Carter
[#11] in its entirety The motion of Preckwinkle to dismiss [#10] is granted with respect to the
due process claim of Count I, the equal protection claims of Counts l and II, the conspiracy claim
of Count III, and the claim for breach of public trust in Count IV. The motion of Preckwinkle is
denied with respect to the Count l claim for violation of the First Amendment. Defendant
Preckwinkle is directed to answer the Complaint by April 22, 2002. A status hearing will be held

on Apri129, 2002 at 9:30 a.m.

  

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§ JoAN HUMPHIGY LEFKow
United States District Judge

ENTER:

Dated: March 25, 2002

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